Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 1 of 25




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

   ADT LLC, et al.,

           Plaintiffs,

                    v.
                                                             Case No. 1:20-cv-23918
   Safe Home Security, Inc., et al.,

           Defendants.



                                SECOND AMENDED COMPLAINT

          Plaintiffs ADT LLC and The ADT Security Corporation (together “ADT”), bring this

  action for damages, punitive damages, attorneys’ fees and costs against Defendants Safe Home

  Security, Inc. (“Safe Home”); and Security Systems, Inc. d/b/a Safeguard America (“Safeguard”)

  (Safe Home and Safeguard together, “Defendants”), and in support allege as follows:

                                       SUMMARY OF THE CASE

          1.       This case is about each of the Defendants’ practice of using false and misleading

  sales practices to target ADT customers across the country during unannounced door-to-door sales

  visits to ADT customers’ homes.

          2.       In a calculated attempt to convert ADT customers to Defendants’ customers

  without their knowledge, each Defendant’s sales representatives, through well-rehearsed deceptive

  tactics, have misled masses of ADT customers to believe their receptive employer is affiliated with

  ADT. These willful affiliation misrepresentations lead ADT’s customers to do business with these

  Defendants under false pretenses, often leaving ADT customers unwittingly bound to multi-year

  contracts with these entities. Even for ADT customers that learn the true nature of Defendants’

  scam, it is often too little, too late. By ensuring their contracts are next to impossible to cancel,
                                                     1

  4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 2 of 25




  Defendants have successfully trapped ADT customers in multi-year contracts worth thousands of

  dollars.

             3.    Each Defendant accomplishes this scam by freeriding on the goodwill of ADT,

  convincing ADT customers, among other things: (1) that the Defendant’s sales agent is there to

  simply “update” or “upgrade” the ADT customer’s equipment, when in reality he or she is

  switching out the ADT system for that of the respective Defendant; (2) that ADT has been bought

  out or is going out of business and that the Defendant is taking over ADT accounts; and (3) that

  the Defendant is a subcontractor, installer or is otherwise affiliated with or acting on behalf of

  ADT. These (and other) routinely-used acts of deception allow Defendants to successfully take

  advantage of ADT’s goodwill and steal ADT’s customers under false pretense, all the while

  damaging the goodwill underlying the “ADT” brand name. Indeed, the Defendants’ scheme leads

  some customers to ultimately cancel ADT’s services, and others to become so frustrated with ADT

  because of Defendants’ practices that the customer stops paying for any alarm system at all.

             4.    Not only do these willfully deceptive tactics rob ADT of its customers and damage

  ADT’s name – they violate Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A), and the

  related common law of unfair competition. ADT thus seeks compensatory damages to remedy the

  Defendants’ conduct, including: (1) its loss of numerous customers, both known and unknown,

  and the disruption of thousands of others since each individual Defendant’s deceptive practices

  began; (2) ADT’s injuries to its goodwill and reputation; (3) ADT’s lost royalties from Defendants’

  unauthorized use of the ADT brand; (4) each Defendant’s profits from its respective ill-gotten

  gains; (5) ADT’s attorneys’ fees; and (6) punitive damages to punish and deter each Defendant

  from continuing to engage in its intentionally false and misleading conduct.




                                                   2

  4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 3 of 25




          5.       There is no indication the Defendants intend to stop their deceptive sales practices,

  and ADT anticipates by the time of trial the volume of reports about deceptive sales practices by

  the Defendants will be even more numerous. To be sure, the number of reported incidents of

  deceptive sales practices is only the tip of the iceberg of ADT customers each Defendant has

  deceived. For every report of a deceptive sales incident, many more go unreported.

          6.       ADT has been fighting this problem for many years. Defendants’ conduct not only

  irreparably harms ADT and its customers, it inflicts damage on the entire home security system

  industry. Home alarm providers like ADT make their keep by instilling a sense of security and

  trust in their customers. Defendants’ scamming and deceptive conduct ruins that effort, instilling

  in the consuming public distrust for home alarm providers.

                                             THE PARTIES

          7.       Plaintiff The ADT Security Corporation, is a Delaware corporation with its

  principal place of business at 1501 Yamato Road, Boca Raton, Florida 33431. The ADT Security

  Corporation is a holding company that owns, inter alia, all ADT trademarks, including without

  limitation 21 ADT live word trademarks featuring the letters “A – D – T,” registered in the United

  States Patent & Trademark Office that bear the registration numbers 3251836, 3352491, 710708,

  710507, 3515266, 3511263, 3445423, 3909665, 3485321, 3421797, 1034716, 838956, 803247,

  846966, 3348663, 3253804, 3445420, 3991449, 3335239, 3335298, and 3427081 (“ADT

  Trademarks”). The ADT Security Corporation is ultimately wholly owned by ADT Inc., a

  Delaware corporation whose common stock is traded on the New York Stock Exchange.

          8.       Plaintiff ADT LLC is a Delaware limited liability company with its principal place

  of business at 1501 Yamato Road, Boca Raton, Florida 33431. ADT LLC is an operating company

  that conducts the ADT alarm services business in the United States. ADT LLC uses the ADT


                                                     3

  4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 4 of 25




  Trademarks under license from The ADT Security Corporation. ADT LLC is owned by The ADT

  Security Corporation.

          9.       Defendant Safe Home Security, Inc. is a Connecticut corporation with its principal

  place of business located at 1125 Middle Street #201, Middletown, Connecticut 06457. Safe Home

  was incorporated in 1988. Safe Home’s registered agent for service of process in Connecticut is

  Incorp Services, Inc. 6 Landmark Square, 4th Floor, Stamford, CT 06901. Safe Home’s registered

  agent for service of process in Florida is InCorp. Services, Inc., 17888 67th Court North,

  Loxahatchee, FL 33470.

          10.      Alliance Security, Inc. (“Alliance”) is also a residential alarm monitoring company

  that has targeted ADT customers through door-to-door sales that utilize the same types of

  deceptive sales tactics as Safe Home and Safeguard. Alliance is a Delaware corporation with its

  principal place of business located at 33 Broad Street, Providence, Rhode Island 02903.

          11.      On July 14, 2017, Alliance filed a Chapter 11 bankruptcy petition in the United

  States Bankruptcy Court for the District of Rhode Island, Case No. 1:17-bk-11190. On May 24,

  2019, the Bankruptcy Court approved a June 30, 2019 sale of substantially all of Alliance’s assets

  to Defendant Safe Home, including—on information and belief—all of Alliance’s customer

  accounts obtained from ADT through deceptive sales practices. Accordingly, Safe Home is

  Alliance’s successor-in-interest and is liable for Alliance’s tortious actions directed at ADT and

  its customers.

          12.      Defendant Security Systems, Inc. d/b/a Safeguard America (“Safeguard”) is a

  Connecticut corporation with its principal place of business located at 1125 Middle Street #201,

  Middletown, Connecticut 06457. Safeguard was incorporated in 1992. Safeguard’s registered

  agent for service of process in Connecticut is Incorp Services, Inc. 6 Landmark Square, 4th Floor,


                                                    4

  4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 5 of 25




  Stamford, CT 06901. Safeguard’s registered agent for service of process in Florida is InCorp.

  Services, Inc., 17888 67th Court North, Loxahatchee, FL 33470.

                                    JURISDICTION AND VENUE

          13.      This Court has jurisdiction over this action pursuant to Section 1331 of Title 28

  because it presents a federal question under Section 43 of the Lanham Act.

          14.      This Court has supplemental jurisdiction over the state-law claims also asserted in

  this action pursuant to Section 1367(a) of Title 28.

          15.      Venue lies in this District pursuant to Section 1391(b) of Title 28 because events

  giving rise to the claims asserted in this Complaint occurred in this District and because each of

  the Defendants are subject to the Court’s personal jurisdiction in this District for committing

  tortious conduct purposefully directed at this District, as described in this Complaint.

                                     GENERAL ALLEGATIONS

                   ADT and the Defendants Compete in the Home Security System,
                              Automation, and Smart Home Markets

          16.      ADT, founded in 1874, is the oldest, largest, and best-known provider of electronic

  security, automation and smart home services and equipment for homes and businesses in the

  United States.

          17.      ADT provides security, automation, and smart-home services and equipment

  nationwide and is engaged in interstate commerce for the purposes of the Lanham Act.

          18.      ADT’s name and trademarks are registered with the United States Patent and

  Trademark Office.

          19.      As a Florida resident, ADT is injured in Florida by the tortious activities of each of

  the Defendants.

          20.      Defendant Safe Home’s reach is nationwide, operating in most states, including

                                                     5

  4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 6 of 25




  Florida. Safe Home is registered to do business in Florida with the Florida Department of State,

  Division of Corporations.

          21.      Alliance, Anthem, and Safeguard each operate in various states across the country,

  including Florida.

          22.      A substantial fraction of the violations that form the basis of this complaint occurred

  in Florida. At all times relevant to this Complaint, each Defendant misled Florida consumers and

  engaged in the deceptive sales practices that are the subject of this civil action.

          23.      Defendants and ADT are direct competitors in the security systems, automation,

  and smart home markets. ADT and the Defendants market and sell substantially similar goods

  made by the same suppliers through the same channels to the same target markets of residential

  consumers. The companies also provide substantially similar security monitoring services to their

  respective customers. ADT operates in each of the states in which the Defendants sell and install

  alarm systems.

                                 Defendants’ Deceptive Sales Practices

          24.      Each Defendant’s respective sales agents target ADT customers in various yet near-

  identical ways, often by seeking houses with the distinctive ADT yard sign and/or window stickers

  that ADT’s customers post on their premises to deter burglars and trespassers. In addition, these

  yard signs and window stickers communicate to competitors, such as the Defendants, that the

  homeowner has an existing business relationship with ADT.

          25.      The complaints received by ADT show that the Defendants’ sales agents many

  times intentionally target ADT customers that are over the age of 65, are infirm, or have diminished

  mental capacities.




                                                     6

  4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 7 of 25




          26.      The Defendants’ sales agents generally solicit ADT’s customers in unannounced

  “cold” door-to-door sales visits to the customers’ homes. At the beginning of these visits, and often

  throughout the sales encounter, the agents use deceptive sales pitches that are intended to mislead

  (and that do mislead) ADT’s customers into believing that the individual Defendant represents

  ADT, is affiliated with ADT, that the Defendant’s sales agent is visiting ADT’s customer at ADT’s

  direction, that Defendant’s sales agent works for the companies that made the ADT alarm

  equipment installed in the customers’ homes, or that ADT has otherwise blessed the Defendant to

  work on ADT’s behalf.

          27.      Despite knowing that these statements are false, each Defendant’s sales agents use

  these pitches to induce ADT customers to believe that they have an existing business relationship

  with the agents, to trust them, and to grant the agents entry into their homes. Once inside, having

  won the customers’ trust by this deception, the agents lead the customers to sign the respective

  Defendant’s sales contracts and install the respective Defendant’s alarm systems in the often

  mistaken belief that they are receiving new ADT equipment from ADT, an ADT affiliate, an ADT

  successor, that the Defendant has or is assuming the ADT customer’s account, or that the customer

  has no choice but to permit the transaction to go forward if he or she wishes to continue to have

  operational alarm-monitoring services.

          28.      In reality, neither Defendants nor their sales agents are affiliated with ADT in any

  way. Nor have any of the Defendants legitimately assumed any ADT customer accounts or

  succeeded ADT in the home security monitoring market. Accordingly, the statements made by the

  Defendants’ respective sales agents in order to gain entry into the homes of ADT’s customers and

  convince them to allow the sales agent to replace ADT equipment and/or the underlying alarm

  monitoring services are false and misleading.


                                                    7

  4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 8 of 25




          29.      Having heard the Defendant’s untrue claims of affiliation with ADT, ADT’s

  customers allow these sales agents into their homes in the mistaken belief that they are speaking

  with a person somehow affiliated with ADT, visiting to provide the customers with goods and

  services that are related to their existing ADT alarm system. ADT’s customers repeatedly confirm

  that but for this initial confusion, they would never have allowed any of the Defendants’ sales

  agents into their homes or to otherwise inspect, manipulate, or replace the equipment previously

  installed by ADT.

          30.      The alarm monitoring services provided by ADT and subscribed to by ADT’s

  customers require the use of equipment compatible with ADT’s services. Accordingly, once the

  Defendants remove ADT’s equipment from customer homes, ADT is typically no longer able to

  provide the services its customers have contracted for.

          31.      As a result, a number of ADT customers have unwittingly found themselves with

  Defendants’ alarm systems installed in their homes, and with simultaneous contractual obligations

  to both ADT and the Defendant who deceived them into entering into a contract under false

  pretenses.

          32.      In other instances, the customers retained Defendants’ systems and terminated their

  ADT contracts, often because the respective Defendant makes it too cumbersome and time-

  consuming for the customer to end the Defendant’s service, despite it being consummated through

  deceptive means. In some circumstances, each of the Defendants will require their dishonestly

  obtained customers to pay substantial contract-termination fees without consideration that the

  customer’s contract was acquired through false and deceptive means.




                                                    8

  4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 9 of 25




          33.      As highlighted above, such deceptive sales practices and claims of affiliation with

  ADT are typical of the hundreds of complaints ADT has received from its customers about the

  Defendants and their deceptive sales practices.

          34.      Indeed, ADT has already uncovered numerous instances of each Defendant

  engaging in these types of deceptive sales practices. For example, on January 17, 2020, a Safe

  Home sales agent visited ADT customer P. Franklin’s home in Orlando, Florida. The sales agent

  told Ms. Franklin that Safe Home was a part of ADT and that he was there to perform a necessary

  upgrade to her ADT system. A technician accompanying the Safe Home sales agent removed

  ADT’s equipment and installed Safe Home equipment while the sales agent had Ms. Franklin fill

  out paperwork on an iPad ostensibly related to the “upgrade.”

          35.      Upon further investigation, Ms. Franklin realized she had been deceived and that

  the individuals who had visited her home were not, in fact, related to or affiliated with ADT at all,

  nor did her equipment require any upgrades whatsoever. She then called ADT’s customer care

  center to report the deceptive sale, and ADT subsequently sent out a technician to reinstall the

  ADT equipment Safe Home had removed so that Ms. Franklin could continue to receive alarm

  monitoring from ADT.

          36.      Nor are Safe Home’s deceptive sales practices limited to Florida. On January 7,

  2020, a Safe Home sales agent visited the home of ADT customer F. Ferrell in Bogalusa,

  Louisiana. Mr. Ferrell is a 74-year old man suffering from partial paralysis. He was preparing for

  surgery when a Safe Home sales agent knocked on his door. Mr. Ferrell informed the sales agent

  that he was in great pain and was preparing for surgery, but the sales agent insisted on entering

  Mr. Ferrell’s home, telling him that ADT had sent the sales agent to inspect ADT’s equipment and

  arrange for an upgrade. ADT did no such thing.


                                                    9

  4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 10 of 25




           37.      During this interaction, Mr. Ferrell made it clear to the sales agent that he already

   had a contract with ADT. In order to avoid being confronted with his false claims of affiliation

   with ADT, the Safe Home sales agent stated that the upgrade would merely “extend” Mr. Ferrell’s

   contract with ADT and not to worry. He then instructed Mr. Ferrell to sign what Mr. Ferrell

   believed was paperwork documenting the upgrade. In reality, this paperwork was a new contract

   with Safe Home unrelated to the services provided by ADT.

           38.      On January 10, 2020, Safe Home sent a technician to Mr. Ferrell’s home to remove

   the ADT equipment installed in his home and replace it with Safe Home equipment. ADT received

   a notification that its installed equipment had been disconnected and promptly called Mr. Ferrell

   to determine the cause of the alarm-monitoring interruption. During this call, ADT informed Mr.

   Ferrell that it had not sent anyone to his home to upgrade or otherwise inspect his equipment and

   that the Safe Home sales agent was not in any way related to or affiliated with ADT. Upon Mr.

   Ferrell’s request, ADT subsequently sent out a technician to reinstall the ADT equipment that Safe

   Home had removed.

           39.      On November 18, 2019, Safe Home sent sales agent Joshua Curtis to the home of

   B. Brown. Curtis told Ms. Brown that ADT was going out of business, Safe Home was taking over

   its accounts in the area, and Ms. Brown would need to sign an agreement to have new equipment

   installed in her home in order to continue receiving alarm-monitoring service. Ms. Brown signed

   this document, and Safe Home removed ADT’s equipment and installed its own.

           40.      On November 15, 2019, Safe Home sent a sales agent to the home of ADT

   customers K. and M. Meissner. The sales agent told M. Meissner that ADT was going out of

   business in the area and Safe Home was taking over all of ADT’s accounts. The sales agent further

   told the Meissners not to contact ADT, as Safe Home would handle transitioning the services over


                                                     10

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 11 of 25




   as needed, further explaining that the Meissners would need to sign paperwork to authorize the

   installation of equipment “necessary” for the Meissners to continue receiving alarm-monitoring

   service. Contrary to the representations made by the sales agent, the document signed by the

   Meissners was actually a contract for services with Safe Home.

           41.      A Safe Home technician accompanying the sales agent removed ADT’s equipment,

   installed Safe Home’s equipment, and took the removed ADT equipment with him. While the

   Meissners have stated they would like to remain ADT customers, they are unable to given the

   contract the Safe Home sales agent deceived them into signing.

           42.      Similarly, on February 2, 2019, Safe Home sent a sales agent to the home of ADT

   customer M. Powell. As with the Ms. Brown, the Meissners, and others, the sales agent told Mr.

   Powell that ADT had gone out of business and Safe Home was taking over all of ADT’s accounts

   in the area, convinced him to sign a contract with Safe Home under false pretenses, removed

   ADT’s equipment, and installed Safe Home’s equipment.

           43.      Safeguard employs the same approach approach to its deceptive sales tactics,

   convincing ADT’s customers that ADT already has or is currently going out of business and that

   Safeguard is taking over all of ADT’s accounts in the area.

           44.      This is what happened to ADT customer D. Brown, among others. On April 8,

   2019, a Safeguard sales agent visited Ms. Brown’s home in Plant City, Florida. The sales agent

   told Ms. Brown that ADT was no longer servicing the area and that he would upgrade her system

   with a medical alert. A technician subsequently replaced the ADT-installed equipment, rendering

   ADT unable to provide the alarm monitoring services contracted for by Ms. Brown. Ms. Brown

   did not discover Safeguard’s deception until the equipment installed by Safeguard began to

   malfunction, leading her to call ADT’s customer care department.


                                                   11

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 12 of 25




           45.      Similarly, on March 13, 2019, Safeguard sent sales agent John Alex and several

   technicians to the home of ADT customer E. Murray. These Safeguard employees told Ms. Murray

   that ADT was going out of business and that she would need to sign a new agreement with

   Safeguard in order to continue to receive alarm-monitoring services. As a result of this deception,

   Ms. Murray agreed to allow Safeguard to remove the ADT equipment from Ms. Murray’s home

   and install its own.

           46.      Safeguard’s sale agents also make the same false claims of current affiliation with

   ADT as the other Defendants. On August 7, 2019, a Safeguard sales agent knocked on the door of

   ADT customer D. Edwards, claiming that he had been sent by ADT to perform maintenance on

   Mr. Edwards’ ADT alarm equipment and provide him with an upgrade. Sensing that ADT would

   not send a technician out to his home to perform such maintenance without first setting up an

   appointment, Mr. Edwards refused to let the sales agent into his home without first confirming the

   need for any such upgrade.

           47.      Despite the prevalence of such misleading sales practices among the Defendants’

   door-to-door sales teams, their deceptive and infringing conduct is not limited to in-person sales.

           48.      For example, in early October 2019, an Alliance sales agent called ADT customer

   M. Gallo, stating that she was with her current alarm services provider and had been instructed to

   offer her a better monthly rate due to her tenure with ADT. The sales agent then scheduled an

   appointment for October 15, 2019 in order to install upgraded equipment.

           49.      In order to disguise her deceptive sales practices, the Alliance sales agent told Ms.

   Gallo that Alliance had purchased ADT and that she should not be alarmed when she received

   future invoices on Alliance letterhead. Contrary to these misrepresentations, Alliance had not




                                                     12

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 13 of 25




   purchased ADT, nor had ADT instructed an Alliance sales agent to call Ms. Gallo and offer her a

   different contract rate or new equipment.

           50.      On October 15, 2019, Alliance technician Dwight Hammothe removed ADT’s

   equipment and installed Alliance’s own equipment. Ms. Gallo did not realize that she had been

   duped until her attempts at calling the customer service numbers provided by Alliance failed,

   leading her to call the ADT customer care center directly. ADT’s customer care team informed

   Ms. Gallo that ADT had neither been purchased by Alliance nor had a customer service

   representative call to offer her a new plan or equipment. Accordingly, Ms. Gallo requested that

   ADT reinstall the equipment removed by Alliance in order to reinstate her alarm monitoring

   service with ADT.

           51.      The above anecdotes are by no means all of the reports of deceptive sales practices

   received by ADT. To date, ADT has itself collected hundreds of customer complaints regarding

   the sales practices of the Defendants. And as a result of nearly every such complaint, ADT is left

   to spend its own capital correcting and otherwise repairing the damage done by the Defendants’

   conduct.

           52.      Nor do the customer complaints received by ADT represent the full scope of

   Defendants’ illegal conduct. Even a cursory review of the various enforcement actions brought by

   state attorneys general against Safe Home reveals a massive number of deceptive sales targeting

   ADT’s customer base, the vast majority of which ADT was previously unaware of.

           53.      Accordingly, ADT’s investigation into the Defendants’ deceptive sales practices

   remains ongoing.




                                                    13

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 14 of 25




           ADT Has Incurred Significant Damages Resulting from Defendants’ Conduct

           Costs Incurred Repairing and/or Mitigating the Effects of Defendants’ Deception

           54.      Defendants’ deceptive sales tactics irreparably injure ADT’s relationships with its

   existing customers. As a result of each Defendant’s manipulation, ADT’s customers allow the

   Defendant’s sales agents entry to their homes under false pretenses, sign the Defendant’s contracts,

   uninstall their ADT alarm systems, replace these systems with the Defendant’s own equipment—

   or in the case of Anthem, Safe Home’s equipment—and terminate their ADT contracts.

           55.      Even where ADT’s customers subsequently recognize the scam perpetrated by the

   Defendants’ respective sales agents, ADT has no option but to send technicians to the deceived

   customers’ houses to reinstall, or even replace, the removed ADT equipment at considerable

   expense to ADT. Each Defendant is liable to ADT for these costs and damages caused by their

   individual company’s conduct.

           56.      The constant need to assist ADT customers in fixing problems resulting from each

   Defendant’s deceptive sales conduct imposes a substantial cost on ADT to maintain and train

   customer service agents appropriately. In effect, ADT is forced to constantly police each of the

   Defendant’s salespeople. The Defendants are also liable for these costs and damages.

                                Injury to ADT’s Goodwill and Reputation

           57.      The Defendants’ deceptive sales tactics also injure ADT’s goodwill and reputation.

   Depending on which false story each Defendant communicated to any given customer, ADT’s

   customers are left with the false belief that ADT is out of business, that ADT has been acquired,

   that their ADT alarm systems are outdated and vulnerable to burglars, or that the individual

   Defendant has taken over ADT accounts. Others mistakenly believe that the Defendant

   inappropriately gained access to the private data the customers had entrusted to ADT, leaving them


                                                    14

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 15 of 25




   to question ADT’s ability to safeguard their interests, a critical shortcoming given the necessity of

   trust between any alarm services provider and its customers.

            58.     In a broader sense, each Defendant’s actions damage ADT’s goodwill and

   reputation as a reliable provider of security, automation and smart home services. Each

   Defendant’s targeting of ADT customers has led some to cease all services with ADT as a result

   of falling victim to these types of false and misleading practices. Some wrongly blame ADT for

   the Defendants’ conduct and never come to understand the lack of affiliation between the

   Defendant that deceived them and ADT.

            59.     Even where ADT customers understand the Defendants’ scams for what they are,

   ADT’s goodwill and reputation is harmed, as such customers may reconsider their ADT service

   because ADT is a target of scammers.

            60.     Customers often blame themselves for falling victim to the Defendants’ false and

   misleading sales tactics. Such self-blame not only contributes to an under-reporting of deceptive

   sales conduct, but irreparably harms ADT’s goodwill and reputation because customers believe

   they never would have fallen victim if they did not have an ADT system in their home in the first

   place.

                         Misappropriation of ADT’s Authorized Dealer Licensing

            61.     By falsely claiming an affiliation with ADT in their sales to consumers, each of the

   Defendants further injures ADT by taking for itself the essential benefit of being an ADT affiliate

   without paying any royalty or other consideration to ADT for the claim of affiliation. This is a

   benefit for which hundreds of licensed ADT dealers pay substantial financial consideration to

   ADT. Each of the Defendants pays nothing to use ADT’s name and brand for its own benefit,

   despite others in this marketplace paying substantial sums for the rights provided through an


                                                     15

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 16 of 25




   official licensing relationship with ADT. Moreover, the Defendants do not abide by ADT’s dealer

   guidelines and so misappropriate a right of affiliation with ADT.

                    Each Defendant’s Deceptive Conduct Is Knowing and Intentional

           62.      Such practices violate statutory and common-law prohibitions against the use of

   false and deceptive statements in commerce. They also violate the security systems industry’s own

   Code of Ethics and Standards of Conduct, which requires that companies “truthfully and clearly

   identify themselves by name . . . at the initiation of a sales presentation, without request from the

   consumer,” and which prohibits as common deceptive sales practices, inter alia, (a) any claim that

   a competitor is going out of business, (b) any claim that the company is taking over the

   competitor’s accounts, or (c) any offer of an “update” or “upgrade” of an existing system that

   requires the execution of a contract with a new security services provider.

           63.      Each of the Defendants knows these types of sales practices are contrary to the law

   and established industry standards, yet knowingly continues such conduct. None of the Defendants

   have taken appropriate action to curb such conduct by their respective sales agents.

           64.      Each Defendant’s conduct is knowing and intentional. At best, each Defendant is

   aware of such conduct by its sales agents but does not take sufficient actions to stop them despite

   having the ability to do so. At worst, each Defendant knowingly teaches and condones these

   actions by its sales agents.

           65.      Moreover, each Defendant’s conduct is geographically widespread and numerically

   voluminous, especially considering that many deceptive sales encounters never get reported to

   ADT.

           66.      ADT has received reports of deceptive sales practices in most states in which each

   Defendant sells alarm systems. Many of the reported incidents occurred in the state of Florida.


                                                    16

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 17 of 25




            67.     The numerous reports ADT has received thus far are but the tip of the iceberg. It is

   an accepted (and obvious) tenet of consumer complaint behavior that for every aggrieved customer

   who reports a deceptive sales practice, many more go uncounted. The complaints that ADT

   received over the period discussed above are likely indicative of thousands of other occurrences

   where the customer either does not take the time to complain or never realizes he or she has been

   duped.

            68.     Upon information and belief, each Defendant’s own internal records will show how

   widespread and pervasive its deceptive sales practices are. Many ADT customers subjected to the

   Defendants’ deceptive sales practices will never complain to ADT. Rather, upon learning of the

   deceptive conduct the respective Defendant subjected them to, they will complain to that

   Defendant. ADT would therefore not have records of such conduct. Nevertheless, on information

   and belief, each of the Defendants will have exclusive possession and control of such records

   demonstrating their respective deceptive sales tactics.

            69.     Defendants’ conduct has not stopped, and will not stop, because each Defendant

   generates significant profits from its deceptive tactics. Every alarm account the Defendant acquires

   through deceptive sales conduct creates a new revenue stream for that Defendant, potentially for

   several years beyond the initial term of the new contract. Thus, the Defendants deceptive practices

   are designed to obtain as many accounts as possible through whatever means possible. On

   information and belief, such conduct has permitted each Defendant to bolster their financial reports

   and receive new credit and/or equity investments that otherwise might not be possible without the

   illegal sales conduct.




                                                     17

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 18 of 25




                   COUNT I - UNFAIR COMPETITION IN VIOLATION
           OF THE LANHAM ACT, 15 U.S.C. § 1125(a)(1)(A) [FALSE AFFILIATION]
                                  (All Defendants)

           70.      ADT incorporates paragraphs 1 through 69 as if set forth fully herein.

           71.      The ADT Security Corporation owns the ADT Trademarks. ADT LLC uses the

   ADT Trademarks under license from The ADT Security Corporation. Both are injured by any

   effort by each respective Defendant to confuse ADT’s customers as to the affiliations of that

   Defendant’s sales agents with ADT.

           72.      Each Defendant’s sales agents use false representations of affiliation with ADT to

   confuse ADT’s customers as to the agents’ true affiliation, to interest the customers in their pitches,

   to win the customers’ trust, and to gain access to their homes.

           73.      In fact, each Defendant’s sales agents do not represent ADT, nor are any of the

   Defendants affiliated in any manner with ADT.

           74.      Each Defendant’s sales agents make these false representations to ADT’s

   customers with the intent of deceiving ADT’s customers as to a relationship or affiliation with

   ADT that does not exist, and that has never existed.

           75.      These false and misleading statements are likely to confuse consumers regarding

   the Defendant’s apparent (but false) affiliation with ADT in the initial stages of a sale.

           76.      Some ADT customers, initially confused at their doorsteps, eventually realize by

   the end of the sale that the sales agents represent the Defendant, not ADT. But many do not, and

   remain confused at the point of sale and sign contracts with the Defendant in the mistaken belief

   that they are contracting with ADT or one of its affiliates. Even when the customer is initially

   confused but later comes to understand the sales agent is not affiliated with ADT, ADT is still

   damaged by the Defendant’s freeriding on ADT’s name and brand recognition.


                                                     18

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 19 of 25




           77.      ADT has been and will continue to be damaged as a result of each Defendant’s false

   representations by the confusion of the market for ADT’s goods and services, by the disruption of

   ADT’s relationships with its customers, by the diversion of ADT’s customers to the Defendant, by

   ADT’s lost royalties, by ADT’s loss of control of the use of its brand in the market, and by damage

   to ADT’s goodwill and reputation as a reliable provider of security systems.

           78.      ADT is entitled to an award of compensatory damages, as well as each Defendant’s

   profits, attorney fees, and the costs of this action pursuant to 15 U.S.C. § 1117(a). The court,

   pursuant the discretion confided to it under this section of the Act, should also consider enhancing

   these damages to compensate ADT fully for its losses.

           WHEREFORE, ADT respectfully requests that the Court enter judgment in its favor and

   against each of the Defendant’s, and award the following relief:

                 a. Compensatory damages, in an amount to be established at trial, but believed to be

                    in excess of $10 Million;

                 b. An accounting of each Defendant’s profits resulting from its deceptive practices,

                    and payment of such profits to ADT;

                 c. Attorneys’ fees and costs incurred in the prosecution of this action, as provided by

                    15 U.S.C. § 1117(a); and

                 d. Such other and further relief as the Court may deem appropriate in the

                    circumstances.

                       COUNT II - COMMON LAW UNFAIR COMPETITION
                                      (All Defendants)

           79.      ADT incorporates paragraphs 1 through 69 as if set forth fully herein.




                                                     19

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 20 of 25




           80.      ADT and each of the Defendants compete for a common pool of customers. Each

   of the parties in this lawsuit market security, automation, and smart-home services to the same

   target market of residential customers.

           81.      Each Defendant has engaged in unfair and deceptive misconduct by fielding a staff

   of sales agents who prey on unsuspecting and sometimes elderly and infirm customers and who

   make false sales pitches to ADT’s customers that are designed to mislead them into believing that

   they are acting on ADT’s behalf, when in fact they represent a competitor freeriding ADT’s

   goodwill to interfere with ADT’s contracts with its customers, and to sell and install new alarm

   systems.

           82.      The Defendants actions are contrary to honest practice in industrial or commercial

   matters. They are prohibited by the alarm industry’s own code of conduct. They are independently

   actionable, inter alia, as tortious interferences with ADT’s contractual relationships, and as

   violations of the Lanham Act.

           83.      Each Defendant’s actions are likely to cause confusion among consumers, and in

   fact already have caused confusion, not only in the initial stages of their agents’ sales pitches, but

   also at the point of sale.

           84.      Each Defendant’s actions are also contrary to law because they prey upon elderly

   and infirm customers who are easy targets for their agents’ false sales pitches.

           85.      ADT has been injured as a result of each of the Defendant’s actions.

           WHEREFORE, ADT respectfully requests that the Court enter judgment in its favor and

   against each of the Defendants, and award the following relief:

                 a. Compensatory damages, in an amount to be established at trial, but believed to be

                    no less than $10 Million;


                                                    20

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 21 of 25




                 b. Punitive damages in a sum sufficient to deter each respective Defendant from

                    engaging in further deceptive sales tactics;

                 c. Attorneys’ fees and costs incurred in the prosecution of this action; and

                 d. Such other and further relief as the Court may deem appropriate in the

                    circumstances.

              COUNT III - TRADE SLANDER/COMMERCIAL DISPARAGEMENT
                                    (All Defendants)

           86.       ADT incorporates paragraphs 1 through 69 as if set forth fully herein.

           87.      Each Defendant, through its respective sales agents, has intentionally made false

   and misleading statements about ADT, about ADT’s products and services, or about Defendant’s

   affiliation with ADT in their sales pitches to ADT’s customers as alleged herein.

           88.      As described above, these statements include, but are not limited to, representations

   to ADT’s customer that the Defendant’s respective sales agent works for or with ADT, that the

   Defendant is ADT’s successor-in-interest or has otherwise acquired ADT’s customer accounts,

   that ADT has or will soon go out of business and will no longer service the customer’s account,

   that the ADT equipment installed in the customer’s home is no longer of good quality or adequate

   to provide the services the customer has contracted for and therefore must be replaced or

   “upgraded,” or that ADT’s equipment is defective and requires the Defendant’s sales agent to

   perform repairs.

           89.      In every instance, there are no issues with ADT’s equipment requiring anyone, let

   alone the Defendant, to repair, replace, or otherwise “upgrade” the equipment installed in the

   customer’s home.

           90.      ADT has neither gone out of business nor is ADT in the process of winding down

   its business in the areas in which the Defendants have so stated to ADT’s customers. Nor has or

                                                     21

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 22 of 25




   would ADT affiliate itself with the Defendant or otherwise permit its customer accounts to be

   acquired by the Defendant given the poor market reputation possessed by each, or in the case of

   Safe Home, the numerous legal and/or administrative proceedings asserted against it by various

   state attorneys general.

            91.     Each of the Defendants’ false and misleading statements demean the quality of

   ADT’s goods and services.

            92.     At the time the statements were made, the Defendant knew the statements to be

   false.

            93.     The statements are defamatory per se in that the statements suggest conduct

   incompatible with the lawful exercise of business, including that ADT has gone out of business,

   ADT is in the process of winding down its business interests, the equipment installed by ADT in

   its customers accounts requires an upgrade to provide the services contracted for, or ADT would

   affiliate itself with entities such as Safe Home that are better known for government investigations

   into their deceptive sales practices than the services they sell.

            94.     The statements are injurious and damage ADT in its industry and marketplace by

   causing ADT to lose sales, profits, and good will, and to suffer injury to its reputation.

            95.     Furthermore, ADT has suffered out-of-pocket expenses including but not limited

   to the costs of ADT equipment taken by the Defendants when they remove such equipment from

   ADT customer homes and install their own; the costs incurred with replacing such equipment if

   and when the customers return to ADT; the costs incurred having to send ADT’s technicians to

   customers homes to remove the Defendants’ equipment and reinstall ADT components; and the

   need for ADT to train and maintain customer service agents and provide targeted advertising and




                                                     22

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 23 of 25




   customer notification to specifically address these issues caused by the Defendants’ deceptive

   trade practices described herein.

           96.      Furthermore, the Defendants’ slanderous statements have required ADT to incur

   attorneys’ fees in order to end Defendants’ conduct.

           WHEREFORE, ADT respectfully requests that the Court enter judgment in its favor and

   against each Defendant, and award the following relief:

                 a. Compensatory damages, in an amount to be established at trial;

                 b. Punitive damages in a sum sufficient to deter each Defendant from engaging in

                    further deceptive sales tactics; and

                 c. Such other and further relief as the Court may deem appropriate in the

                    circumstances.

                          COUNT IV - TORTIOUS INTERFERENCE WITH
                          ADVANTAGEOUS BUSINESS RELATIONSHIPS
                                        (All Defendants)

           97.      ADT incorporates paragraphs 1 through 69 as if set forth fully herein.

           98.      ADT maintains valid and enforceable contracts and business relationships with its

   customers.

           99.      Typically, ADT customers display an ADT sign or window sticker outside their

   homes to deter potential burglars and broadcast to the outside world that the home is protected by

   ADT’s alarm system.

           100.     Each Defendant is knowledgeable of the contractual and business relationship

   between ADT and its customers. When the Defendant’s sales agents visit the homes of these

   individuals, they become (or are already) aware of such relationship and contract by, among other

   means: the sign displayed in front of the customer’s home, talking with the customer, observing


                                                      23

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 24 of 25




   the ADT equipment in the customer’s home, or through prior research and intelligence conducted

   on the customer’s address regarding existing alarm systems.

           101.     Despite knowledge of the customer’s contractual and business relationship with

   ADT, the Defendant’s sales representatives intentionally and without valid justification interfere

   with such relationship and procure the breach of the ADT contract upon the promise that the

   Defendant will “buy out” the remaining term by paying to the customer an amount equal to the

   remaining obligation on their ADT contract.

           102.     ADT is damaged by the Defendants’ unlawful conduct by losing revenue streams

   that otherwise would remain with ADT absent the Defendant’s “buy out” offer, and also because

   the customer does not always remit any remaining amounts due and owing to ADT that the

   Defendant provides to its deceptively obtained customer.

           WHEREFORE, ADT respectfully requests that the Court enter judgment in its favor and

   against each of the Defendants, and award the following relief:

               a. Compensatory damages, in an amount to be established at trial;

               b. Punitive damages in a sum sufficient to deter each Defendant from engaging in

                    further deceptive sales tactics;

               c. Attorneys’ fees and costs incurred in the prosecution of this action; and

               d. Such other and further relief as the Court may deem appropriate in the

                    circumstances.

                                             JURY DEMAND

                            ADT demands a trial by jury on all issues so triable.




                                                       24

   4849-3449-7000
Case 1:20-cv-23918-AMC Document 70 Entered on FLSD Docket 05/07/2021 Page 25 of 25




   Dated: May 7, 2021.          Respectfully submitted,

                                       SHOOK, HARDY & BACON L.L.P.

                                       By: /s/ Eric S. Boos
                                       Jennifer A. McLoone
                                       Florida Bar No. 029234
                                       jmcloone@shb.com
                                       Eric S. Boos
                                       Florida Bar No. 0107673
                                       eboos@shb.com
                                       201 S. Biscayne Blvd., #3200
                                       Miami, Florida 33131
                                       Tel: (305) 358-5171
                                       Fax: (305) 358-7470

                                       Counsel for Plaintiffs ADT LLC and The ADT
                                       Security Corporation




                                         25

   4849-3449-7000
